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 5
 6   Attorney for Defendant
     ANIL MALHI
 7
 8                                       UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                               )    USDC CASE NO. 2:08-cr-00577-KJM
                                                             )
12                          Plaintiff,                       )    STIPULATION AND ORDER
13                                                           )    CONTINUING FURTHER
            v.                                               )    STATUS CONFERENCE AND PLEA
14                                                           )
     ANIL MALHI, et. al.,                                    )    Proposed Date: May 12, 2011
15                                                           )    Time:          10:00 a.m.
                            Defendant.                       )    Court:         Courtroom 3
16
                                                             )
17
18          IT IS HEREBY stipulated between the United States of America, through its undersigned counsel,
19   Assistant United States Attorney R. Steven Lapham and defendants Salam S. Kalasho and Pisces
20
     International, Inc., through their undersigned counsel Gregory A. Vega, and defendant Anil Malhi, through
21
     his undersigned counsel Donald M. Ré, that the further status conference currently set for May 12, 2011,
22
23   at 10:00 a.m., may be continued to July 7, 2011 at 10:00 a.m., for further status conference and plea, thus

24   vacating the presently set further status conference.

25          Counsel for Anil Malhi is beginning a multi-defendant, multi-week trial on June 7, 2011 in the
26
     United States District Court for the Central District of California in United States v. Underwood; Case No.
27
     CR 10-863-SVW; counsel for defendant Salam Kalasho will be outside the State of California for most of
28

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 1   the week of May 16, 2011.
 2
            Plea agreements for both defendant have been filed with the court.
 3
            The parties stipulate that the ends of justice are served by the court excluding such time, so that
 4
     counsel for defendants may have reasonable time necessary for effective preparation, taking into account
 5
 6   the exercise of due diligence. 18 U.S.C. §3161 (h)(8)(B)(iv).

 7          The parties stipulate and agree that the interests of justice served by granting this continuance

 8   outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C. §3161 (H)(8)(a).
 9
            IT IS SO STIPULATED.
10
     Dated: April 29, 2011                        /s/ Donald M. Ré
11                                                Donald M. Ré
                                                  Attorney for Defendant Anil Malhi
12
13
14   Dated: April 29, 2011                        /s/ Gregory A. Vega
                                                  Gregory A. Vega
15                                                Attorney for Defendant Salam Kalasho
                                                  and Pisces International, Inc.
16
17
18   Dated: April 29, 2011                        /s/ R. Steven Lapham
                                                  R. Steven Lapham
19                                                Assistant U.S. Attorney
20
21
22
23                                                   ORDER

24   IT IS SO ORDERED.

25   Dated: May 2, 2011.
26
                                                     UNITED STATES DISTRICT JUDGE
27
28

                                                         2
